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 1                    Nick Mirr
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                      Attorney for Joel Solorio Espino
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 6
                                        United States District Court
 7                                     Eastern District of Washington
                                            Honorable Lonny R. Suko
 8
     United States,                                          No. 1:17-CR-2040-LRS
 9
                                 Plaintiff,                  Motion to Continue Supervised
10                                                           Release Revocation Hearing
           v.
11
     Joel Solorio Espino,
12                                                           June 22, 2022 – 6:30 p.m.
                                 Defendant.                  Without Oral Argument
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 1         Joel Solorio Espino, by and through his attorney, Nick Mirr, for the Federal

 2   Defenders of Eastern Washington and Idaho, hereby moves this Court for an order

 3   continuing the supervised release revocation hearing currently scheduled for June 22,

 4   2022 at 1:30 p.m. in Yakima.

 5         Defense counsel and Mr. Espino have reviewed the allegations set forth in the

 6   petitions and discussed his options going forward. As a result of these discussions, Mr.

 7   Espino has concluded that he would benefit from additional time before appearing

 8   before the Court.

 9         Mr. Espino has recognized that he is in need of and would benefit greatly from

10   substance abuse treatment services, regardless of the outcome of his revocation

11   hearing. Mr. Espino, therefore, intends to put together a treatment plan with the goal of

12   entering into inpatient treatment. To that end, Mr. Espino requests additional time from

13   the Court to enable him to make arrangements, including potentially securing a new

14   substance abuse evaluation—which can require substantial time when an individual is

15   in custody and depends upon the schedules of treatment providers. Additionally,

16   defense counsel will be out of district on the date of the currently scheduled revocation

17   hearing at a training. For these reasons, Mr. Espino requests the Court continue his

18   revocation hearing.

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                                        Motion to Continue
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 1         Defense counsel discussed this motion with United States Probation Officer

 2   Mendoza. Officer Mendoza has indicated that she does not object to a continuance of

 3   between 45 and 60 days nor to the motion being addressed on an expedited basis.

 4   Defense counsel was unable to contact AUSA Hanlon regarding his position despite

 5   several attempts. Accordingly, Mr. Espino requests the Court continue his supervised

 6   release revocation hearing to August 25, 2022, at 11:30 a.m. in Yakima, Washington.

 7   Dated: June 10, 2022.
                                      Federal Defenders of Eastern Washington & Idaho
 8                                    Attorneys for Joel Solorio Espino

 9                                    s/ Nick Mirr
                                      Nick Mirr, AT0014467
10                                    306 E. Chestnut Ave.
                                      Yakima, Washington 98901
11                                    t: (509) 248-8920
                                      nick_mirr@fd.org
12

13                                      Service Certificate

14        I certify that on June 10, 2022, I electronically filed the foregoing with the

15   Clerk of the Court using the CM/ECF System, which will notify Assistant United

16   States Attorneys: Thomas J. Hanlon.

17                                           s/ Nick Mirr
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                                        Motion to Continue
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